Klein Chocolate Company, Petitioner, v. Commissioner of Internal Revenue, RespondentKlein Chocolate Co. v. CommissionerDocket No. 47164United States Tax Court32 T.C. 437; 1959 U.S. Tax Ct. LEXIS 155; May 29, 1959, Filed *155 Decision will be entered under Rule 50.  1. Petitioner is a manufacturer of dark sweet and milk chocolate coatings, cocoa, a byproduct, and a variety of chocolate confections.  The raw materials used consist of basic cocoa beans, flavor cocoa beans, sugar, milk, and miscellaneous items such as flavoring, peanuts, salt, and the like.  With its 1942 return, petitioner filed its application to price its inventories by the last-in, first-out method under section 22(d) of the Internal Revenue Code of 1939.  Its closing inventories for 1946 and 1947, the taxable years herein, were taken on a last-in, first-out basis and by the dollar-value method, treating its various raw materials, its goods in process, and its finished goods as a single-pool classification or category of goods.  The respondent in his determination of deficiencies allowed the dollar-value method for the pricing of goods in the inventories, but determined that the petitioner's use of a single-pool classification or category of the goods in the inventories did not properly reflect income and that the various raw materials, goods in process, and finished goods should be inventoried in 10*156  separate groups or classifications. Held, that the pricing of petitioner's inventoriable goods according to separate pools according to the various raw materials, goods in process, and finished goods most clearly reflects income.2. Held, further, on the facts of record, that the respondent, for the years 1942, 1943, 1944, and 1945, has not been shown to have approved an inventory by petitioner on a single-pool or -category basis, and Maloney v. Hammond, 176 F.2d 780"&gt;176 F. 2d 780, and Geometric Stamping Co., 26 T.C. 301"&gt;26 T.C. 301, are not in point.  Richard B. Barker, Esq., and James F. McMullan, Esq., for the petitioner.Stephen P. Cadden, Esq., for the respondent.  Turner, Judge.  TURNER *437  The respondent determined deficiencies in income tax against the petitioner for the calendar years 1946 and 1947 in the respective amounts of $ 17,758.61 and $ 15,712.78.  The question for decision is whether the petitioner, for the purposes of section 22(d) of the Internal Revenue Code of 1939, properly priced its inventoriable goods by the dollar-value method, through the use of one pool or classification, or whether its closing inventories for the said years are properly to be taken with separate pools for the various raw*158  materials used by petitioner in its manufacturing operations, for its goods in process, and for its finished goods.FINDINGS OF FACT.Petitioner is a Pennsylvaniacorporation, with its principal office in Elizabethtown, Pennsylvania.  Its returns for the calendar years 1946 and 1947 were filed with the collector of internal revenue for the first district of Pennsylvania.  They were prepared on an accrual basis.*438  The business of the petitioner is that of manufacturing and selling chocolate. Its principal product is chocolate coating or edible chocolate in bulk.  It also manufactures and sells confections or candies, which are made from chocolate coating.  Cocoa, a byproduct, is also produced and sold.  Petitioner also produces cocoa butter which is the extracted fat of the cocoa bean. Most of the cocoa butter produced is consumed as an additive in the manufacture of the finished chocolate but on occasions some of it is sold.  On other occasions petitioner buys some of the cocoa butter used in its manufacturing operations.  It buys or sells cocoa butter as economic conditions warrant or dictate.The raw materials used by petitioner consist of cocoa beans, sugar, milk, and*159  miscellaneous materials such as flavoring, preservatives, and peanuts.Cocoa beans are the principal raw material. They are the seed from the pod of cacao trees, which thrive in latitudes of 20 degrees north or south of the equator.  They are grown principally in the Gold Coast of Africa and its adjacent territories, and South and Central America; some in Asia, the West Indies, and the East Indies.  The beans are classified as basic and flavor beans.The principal markets on which the cocoa beans may be purchased are New York, Hamburg, London, and Liverpool.  Petitioner bought its beans on the New York market.There are different types of basic and flavor beans, and each type of bean differs slightly from the other types.  At times the same type of bean will differ from what it was in the year preceding, dependent upon growing conditions or variations in seasonal rains.  Also differences in altitude may possibly account for differences in the same type of bean. As a consequence, petitioner does not use a single type of bean or any fixed group of beans to manufacture its product but overcomes the variations and obtains uniformity of product by blending.  The flavor bean is a more*160  cultivated bean than the basic bean, and has more flavor, but the basic bean has a higher cocoa butter content.  The flavor bean ordinarily sells at a price a fewcents higher than the basic bean, but that is not always the case.Among the types of basic beans used by petitioner are Accra, Bahia, Grenada, Lagos, Sanchez, and Victoria.  The types of flavor beans used by petitioner include Arriba, Caracas, Trinidad, and Rio Caribe.  Of the beans used by petitioner in 1946, 7 per cent were flavor beans, and in 1947, 12 1/2 per cent.After they are harvested and before they are sold, the beans are put through a fermentation process to eliminate a bitter, astringent taste.  At times, the manner of fermentation will cause variations in beans from the same locality.The first operation in the production of chocolate products is the cleaning, roasting, and shelling of the cocoa beans. The roasting *439  loosens the shell, after which, in a separate compartment, the beans are thrown against a steel plate, thereby cracking the shells.  The shells are removed by suction and the kernel, or meat, remaining is known as the nib.The next step is the production of what is known in the trade*161  as chocolate liquor. Chocolate liquor, or bitter chocolate, is the ground cocoa nib, with or without optional ingredients, such as spice, vanilla, fruit flavors, and salt.  A little more than 50 per cent of the nib is represented by fat or the cocoa butter content, and when the nib is ground the fat contained in the nib results in a free-flowing chocolate liquor. Thereafter, a part of the chocolate liquor so produced is used directly in the production of petitioner's end products.The other part of the chocolate liquor is run through a hydraulic press, and its fat or cocoa butter content is pressed out.  In the pressing operation, a major portion of the fat is removed, leaving the residue in cake form.  The cake is pulverized and sold as cocoa. Cocoa powders are classified in three groups: Breakfast cocoa, containing more than 22 per cent fat; medium-fat cocoa, which contains less than 22 per cent fat but not less than 10 per cent; and low-fat cocoa, which contains less than 10 per cent fat.Chocolate liquor as produced from the cocoa bean is bitter and unpalatable, and to overcome this characteristic, sugar and cocoa butter are added to the chocolate liquor which is being processed*162  into chocolate. Sugar cannot be used alone, because, being dry, it absorbs the liquor and makes an unworkable paste.  The addition of cocoa butter results ina workable mixture.Generally, the chocolate produced by petitioner may be classified as sweet chocolate and milk chocolate. Sweet chocolate is manufactured by the mixing and grinding of chocolate liquor, not less than 14 per cent by weight, sugar, cocoa butter, milk products, and optional flavoring ingredients.  In sweet chocolate, the milk, by weight, is less than 12 per cent.  Bittersweet chocolate is sweet chocolate containing not less than 35 per cent, by weight, of chocolate liquor.Milk chocolate is manufactured by mixing and grinding chocolate liquor, not less than 10 per cent by weight, sugar, whole milk solids, not less than 12 per cent by weight, cocoa butter, and optional flavoring ingredients and emulsifiers.  The optional dairy ingredients must have a combination weight so that the weight of nonfat milk solids is not more than 2.43 times and not less than 1.20 times the weight of the milk fat therein.In its operations, petitioner uses granulated sugar, which is pulverized before it is used.In the manufacture*163  of chocolate the milk, the sugar, the chocolate liquor, and additional cocoa butter are first run through a mixing machine, after which the mixture is passed through a series of rollers *440  which grind and smooth the product.  It then passes through a machine where it is worked between a granite roller and a granite bed in the tub of the machine.  This machine is called a conche, and the process is referred to as conching.  In the conche the mixture is smoothed, aerated, and flavored.  Conching is the longest process in petitioner's operations.  From the conche the mixture flows into standardization tanks where additional cocoa butter, flavoring, and lecithin are added.  It then proceeds through a tempering tub, after which is is cast into molds, cooled, and wrapped for storage and shipping.After all the ingredients come together in the mixer, the processing of the chocolate into the finished product is the same for the dark sweet chocolate as for the milk chocolate.In producing milk chocolate, there are two processes, the dry milk process and the liquid milk process.  As a general rule, the milk is purchased in liquid form from farmers within an area of 20 to 30 miles*164  around Elizabethtown, and when liquid milk is acquired it is immediately condensed to remove moisture.  Sometimes milk is purchased which has already been condensedand powdered.  Buttermilk is sometimes used, and when so used is in powdered form.  The dry milk process is the common type of milk chocolate manufacture.  In this process the milk is dried to less than 5 per cent moisture before being combined with the chocolate ingredients.  In the liquid milk process, the milk is dried from 10 per cent moisture to about 1 to 1 1/2 per cent "in the presence of chocolate liquor." The liquid milk process is more expensive "in operation" and is generally reserved for the premium grades of milk chocolate.The cost of the finished chocolate, in percentages, according to the ingredients, in petitioner's operations for 1946 and 1947, was as follows:19461947per centper centCocoa beans and derivatives:Cocoa beans43.5448.18Purchased cocoa butter1.5510.45Total bean content45.0958.63Milk23.3316.36Sugar13.719.94Miscellaneous ingredients1.692.16Labor, overhead, depreciation, and all othermanufacturing costs16.1812.91100.00100.00*165  In the petitioner's manufacturing of chocolate, about 1,616 pounds of chocolate liquor is used for each 1,000 pounds of sugar and each 125 pounds of milk. Of the 1,616 pounds of chocolate liquor, about 1,204 pounds go into the end product.  From the remainder the additional *441  cocoa butter required in the production of the finished chocolate is removed, leaving the residue in the form of cocoa cake.The dark sweet chocolate and the milk chocolate in bulk quantities are referred to as chocolate coating.  Chocolate coating is produced in 10-pound blocks, packed 5 blocks to a carton or 20 blocks to a burlap bag, and is sold to candy manufacturers and bakeries for use in their manufacturing operations.In its production of candies or confections, petitioner uses both dark sweet chocolate and milk chocolate. One such item is produced and marketed under the name "Chocolate Gliders"; another under the name "Spanglers." Chocolate Gliders are small pieces of chocolate topped with nonpareil seeds, the latter being beads consisting of starch and sugar. Spanglers are small milk chocolate drops.  Other items include solid milk chocolate wafers, milk chocolate bars with peanuts added, *166  and blocks of chocolate which are so molded that they can be broken into definitive small pieces and sold for a cent apiece.  From time to time, other comparablecandies are produced.  The confections are packaged in a form suitable for retail consumption, and are sold through jobbers.Petitioner's gross sales, according to the various types or categories of goods sold, for the years 1946 and 1947 were as follows:19461947Coating$ 3,024,120.18$ 5,944,636.35Package goods (confections)1,211,205.583,218,431.38Cocoa347,002.94607,557.51Cocoa butter7,114.704,697.25Total4,589,443.409,775,322.49Cocoa is sold in 100-pound bags as a bulk industrial product, under the trade name Klein's Cocoa. It is sold to bakeries, concerns that make cake mixes, and others who manufacture an ice cream coating.  Petitioner produces various types of cocoa, depending on the amount of fat retained.  These types range from 12 to 22 per cent fat.  It is not economical for petitioner to produce cocoa with a fat content below 12 per cent.On petitioner's books and in its inventories, the receipts from the sale of cocoa powder are applied in reduction*167  of the cost of cocoa butter.In connection with and in the course of its operations, it is and was petitioner's regular practice to take an inventory at the end of every month.  Inso doing, its goods have been inventoried according to six groupings, pools, or classifications, namely beans, sugar, milk powder, others, chocolate in process, and finished goods, and the cost of the said goods has been shown at current cost prices.  And while *442  there has been no listing of basic beans and flavor beans as such, all beans have been listed and priced according to name, such as Accra, Bahia, Arriba, Caracas, and the like, as a result of which the quantity of flavor beans on hand as distinguished from basic beans on hand has been readily determinable by reference to the inventory.With its 1942 return, and on Treasury Form 970, petitioner filed an "Application for the Adoption and Use of the Elective Inventory Method 1 Provided by Section 22(d) of the Internal Revenue Code, as Amended by Section 219 of the Internal Revenue Code of 1939," as follows:Klein Chocolate Company, Inc.,/(Name of taxpayer) of Elizabethtown, Pa.,/(Address*168  of taxpayer) hereby makes application to adopt and use the elective inventory method provided by section 22(d) of the Internal Revenue Code, as amended, and to have such method first applied as of the close of the taxpayer's taxableyear ending Dec. 31, 1942 with respect to the following specified goods which are subject to inventory: All raw material, work in process and finished goods (other than cocoa cake, a by-product), except manufacturing supplies and materials in transit./(Use additional sheets if necessary)The taxpayer hereby agrees to such adjustments incident to the change to the elective method, or to the use of such method, or to any later change from such method, in the inventories of prior taxable years or otherwise, as the Commissioner of Internal Revenue upon the examination of the taxpayer's returns for the years involved may deem necessary in order that the true income of the taxpayer will be clearly reflected, and, in support of this application, represents as follows:1. Nature of business: Manufacture of chocolate, cocoa products, etc.2. Inventory method heretofore used: "First-in, first-out" -- Lower of cost or market.*169  3. Were any of the foregoing specified goods which were on hand at the beginning of the taxable year taken into the closing inventory of the preceding taxable year at values other than cost?  No/(Answer "yes" or "no")4. Goods subject to inventory not to be inventoried pursuant to elective method: Manufacturing supplies, including packing and packaging materials, and materials in transit.  (Use additional sheets if necessary)5. (a) Did the taxpayer issue credit statements, or reports to shareholders, partners, or other proprietors, or to beneficiaries, for or during the first taxable year to which this application refers?  No/(Answer "yes" or "no")(b) If so, to whom, and on what dates?  &nbsp;&nbsp;&nbsp;(c) What inventory method was used in ascertaining income, profit, or loss for the purposes of such statements?  &nbsp;&nbsp;&nbsp;6. Pursuant to what method does the taxpayer determine the cost of the goods in the closing inventory in excess of those in the opening inventory (see section 19.22(d)-2, Regulations 103)?  Goods in the closing inventory were not in excess of those in the opening inventory.*443  AFFIDAVITI/we swear or affirm that the foregoing application (including*170  any accompanying statements) is made in good faith, pursuant to the requirements of section 22(d) of the Internal Revenue Code, as amended, and the regulations issued thereunder, and, if made for a corporation or partnership, is duly authorized, and that the statementsmade therein are, to the best of my/our knowledge and belief, true, correct, and complete.The cocoa cake specified as not being covered by the above application was a residual waste of negligible value that resulted from a manufacturing process which was used only a short time and had been discontinued prior to 1945.  It was not the same as the cocoa cake from which the cocoa byproduct is derived.In paragraph 6 of the printed instructions to the above application Form 970, it was provided that there should be attached to the application an analysis of all inventories of the taxpayer as of the*171  beginning and as of the end of the taxable year for which the elective inventory method was proposed first to be used, and also as of the beginning of the preceding taxable year, and that this analysis should be prepared in detail in accordance with existing regulations. 2*172  On its 1942 return, and in computing cost of goods sold, petitioner reported $ 736,117.88 as its inventory at the beginning of the year and $ 690,961.46 as its inventory at the end of the year.  Except as between goods on hand and goods in transit, as shown by the balance sheet reflected on page 4 of the return, there was no breakdown of either the opening or closing inventory, and there was no showing or indication that in adopting the elective or last-in, first-out method of inventory, petitioner used the so-called dollar-value method for arriving at cost, a physical matching of goods between items, or the matching of goods either in items or by dollars, by the use of a single grouping or pool or by multiple groupings or pools.In taking its closing inventory for 1946 and 1947, the years herein, petitioner listed each item according to six groups, pools, or classifications, namely, "Beans," covering both basic and flavor; "Sugar"; "Milk Powder"; "Others," which covered such items as peanuts, lecithin, and flavor beans; "Chocolate in Process," which included cocoa butter and chocolate liquor; and "Finished Goods." In so doing, the cost of the said goods was shown at current-year*173  prices.  As the next *444  step it priced the goods so listed in the closing inventories at December 31, 1941, prices and when it appeared that in dollars the closing inventory for each such year at such 1941 prices was less than the opening inventory for such year at the said 1941 prices, the dollar amount of each such closing inventory at the 1941 prices became the amount used as the closing inventory for each said year in arriving at the cost of goods sold for 1946 and 1947.  The 1946 closing inventory as so shown and used was $ 477,910.82 and the 1947 closing inventory on the same basis was $ 280,753.12.By this method petitioner's inventory, even though actually taken according to the classifications indicated above, was at December 31, 1941, prices translated into dollars as the common denominator, and it did not matter that the year-end inventory of one group or classification of raw materials and goods so expressed in dollars was greater than the prior base amount theretofore carried at December 31, 1941, prices for such group or classification, so long as the increase was offset by or corresponded with a decrease in the dollar amount of another classification also expressedat*174  December 31, 1941, prices.  In short, an increase in the cocoa bean inventory could be absorbed or offset by a corresponding dollar amount decrease in the sugar or milk inventories, or increases in the sugar or milk inventories could be absorbed by a corresponding decrease in the bean inventory. And so long as the total of petitioner's closing inventory for each subsequent year when priced at December 31, 1941, prices did not drop below the total dollar amount of its actual December 31, 1941, inventory, regardless of variations up and down of the quantity of goods in the various groups or categories, the dollar amount of any subsequent year closing inventory at December 31, 1941, prices would never be less than the dollar amount of its actual December 31, 1941, inventory. By the same token, it would never have any amount in a subsequent year closing inventory to be carried at prices other than December 31, 1941, prices, unless its total subsequent-year closing inventory, regardless of variations in the quantities of goods in the various groups or categories, when priced at December 31, 1941, prices, exceeded the amount of its opening inventory for that year which for last-in, first-out*175  purposes was carried at December 31, 1941, prices, and then only to the extent of the excess.Petitioner's inventory at December 31, 1945, or its opening inventory for 1946, as carried on a last-in, first-out basis by petitioner on its books and in dollars, was $ 725,589.24.  As so carried, this inventory was divided into $ 633,368.20 at December 31, 1941, prices, $ 29,634.57 at 1943 prices, $ 62,206.84 at 1944 prices, and $ 379.63 at 1945 prices.  The same inventory valued at 1941 year-end prices, according to the portions deemed to have been acquired at 1941, *445  1943, 1944, and 1945 costs, was $ 633,368.20, $ 20,045.41, $ 39,437.21, and $ 232.17, or a total of $ 693,082.99.  When so valued at December 31, 1941, prices, the December 31, 1945, inventory thus exceeded petitioner's closing inventory for 1942, the first year on the last-in first-out basis, of $ 690,961.46, as shown by the 1942 return, by $ 2,121.53.  Valuing this excess of $ 2,121.53 at 1945 prices to the extent of the 1945 inventory increase shown and the balance of such excess at the 1944 prices as indicated by the cost as shown for the 1944 inventory increase, the December 31, 1945, inventory in dollarsand*176  on a single-pool basis is $ 694,320.55 instead of $ 725,589.24, at which petitioner actually carried its December 31, 1945, inventory on a last-in, first-out basis and, purportedly as a single pool. 3At sometime prior to October 24, 1946, a revenue agent examined petitioner's returns for the years 1942, 1943, and 1944.  His report, which was dated October 24, 1946, indicated an income tax refund of $ 53.67 for 1942, and no change for either 1943 or 1944, and an excess profits tax refund of $ 288.28 for 1942 and excess profits tax deficiencies of $ 444.56 for 1943 and $ 512.47 for 1944.  In arriving at the overpayments for 1942 and the excess profits tax*177  deficiencies for 1943 and 1944, the revenue agent made no change with respect to petitioner's inventories for the said years.  In his report he made no mention of petitioner's inventories, nor the method by or basis on which they were taken.  4Under date of November 18, 1946, a copy of the revenue agent's report was transmitted to petitioner by the agent's superior, the internal revenue agent in charge.  The letter of transmittal stated that petitioner had indicated its agreement to the adjustments of tax liability shown in the report and that after the overassessment had been certified to*178  the collector, petitioner would be presented with a bill for the net deficiencies, at which time remittance should be made by petitioner to the collector.Petitioner's inventories at December 31, 1941, prices, and as carried by the last-in, first-out method on its books and used in its returns, at December 31 of the years 1945, 1946, and 1947, were as follows: *446 Inventory December 31 --19451946In termsAt LifoIn termsAt Lifoof prices ascarryingof prices ascarryingof Dec. 31,amountof Dec. 31,amount19411941Portion deemed under thestatute to have beenacquired Dec. 31, 1941 --carried at 1941 prices$ 633,368.20$ 633,368.20$ 477,910.82$ 477,910.82Portion deemed to have beenacquired in 1943 --carried at 1943 prices20,045.4129,634.57Portion similarly carriedat 1944 prices39,437.2162,206.84Portion similarly carriedat 1945 prices232.17379.63693,082.99725,589.24477,910.82477,910.82Inventory December 31 --1947In termsAt Lifoof prices ascarryingof Dec. 31,amount1941Portion deemed under thestatute to have been acquiredDec. 31, 1941 --carried at 1941 prices$ 280,753.12$ 280,753.12Portion deemed to have beenacquired in 1943 -- carried at1943 pricesPortion similarly carried at1944 pricesPortion similarly carried at1945 prices280,753.12280,753.12*179  The following is a summary of petitioner's inventory calculations for 1946:InventorySame inventoryat 1946 pricesat 1941 pricesTotal 1946 closing inventory$ 1,046,088.57$ 477,910.82Dec. 31, 1945, inventory at 1941 prices693,082.991946 decrease in terms of 1941 prices$ 215,172.17The above decrease was eliminated from portions or layers included in the 1945 closing inventory as follows:1945 inventory(1)(2)Amount atAmount atwhich carried1941 priceson Lifobasis1945 portion -- carried at 1945 prices$ 232.17$ 379.631944 portion -- carried at 1944 prices39,437.2162,206.841943 portion -- carried at 1943 prices20,045.4129,634.571941 portion -- carried at 1941 prices633,368.20633,368.20693,082.99725,589.24Amount for 1945 closing inventory on Lifobasis, as aboveLess portion eliminated by 1946 decrease, asaboveAmount for 1946 closing inventoryPortion ofPortion ofcolumn (1)column (2)eliminatedeliminatedby 1946by 1946decreasedecrease1945 portion -- carried at 1945 prices$ 232.17$ 379.631944 portion -- carried at 1944 prices39,437.2162,206.841943 portion -- carried at 1943 prices20,045.4129,634.571941 portion -- carried at 1941 prices155,457.38155,457.38215,172.17247,678.42Amount for 1945 closing inventory on Lifobasis, as above725,589.24Less portion eliminated by 1946 decrease, asabove247,678.42Amount for 1946 closing inventory477,910.82*180  In his determination of deficiencies for 1946 and 1947, the respondent determined that the petitioner's inventories, in order clearly to reflect income, should be taken by the use of 10 groupings or pools, instead of 1 grouping or pool. These 10 categories were:(1) Basic cocoa beans.(2) Flavor beans.*447  (3) Milk, liquid, and powder.(4) Sugar.(5) Miscellaneous ingredients: Drum seeds, felcovan, lecithin, peanuts, salt, vanilla, etc.(6) Cocoa butter.(7) Chocolate coating and liquors (in process).(8) Chocolate coating (finished product).(9) Cocoa.(10) Confections.In his determination, the respondent accepted as the petitioner's opening inventory for 1946, its December 31, 1945, inventory of $ 725,589.24, as carried by petitioner on its books and reported on its 1945 return as its closing inventory for that year.  He recomputed petitioner's closing inventory according to the above 10 groupings or pools, instead of the single grouping or pool which had been used by petitioner.Petitioner's December 31, 1945, inventory at December 31, 1941, prices, but on a 10-pool basis, and its closing inventories for 1946 and 1947 at December 31, 1941, prices, on the 10-pool*181  basis, and the said closing inventories on the last-in, first-out basis according to the above 10 pools as determined by the respondent were as follows:Inventory December 31 --19451946ClassificationAt prices asAt prices asAmount atof Dec. 31,of Dec. 31,which19411941carried onLifo basesBasic cocoa beans$ 455,748.81$ 299,391.13$ 299,391.13Flavor beans59,964.7630,616.8730,616.87Cocoa butter1,262.584,807.6612,474.60Cocoa19,336.311,251.201,251.20Milk1,034.608,333.5029,547.29Sugar51,834.509,216.009,216.00Miscellaneous ingredients2,463.113,718.744,862.11Chocolate coating and liquors inprocess26,535.1332,510.4436,280.26Finished chocolate coating61,994.9149,791.9649,791.96Finished confections12,908.2838,273.3252,470.13Total693,082.99477,910.82525,901.55Inventory December 31 --1947ClassificationAt prices asAmount atof Dec. 31,which1941carried onLifo basesBasis cocoa beans$ 97,592.82$ 97,592.82Flavor beans22,692.4322,692.43Cocoa butter5,430.0418,573.43Cocoa570.86570.86Milk19,984.0067,461.51Sugar16,836.0024,837.00Miscellaneous ingredients3,321.674,103.48Chocolate coating and liquors inprocess18,688.7918,688.79Finished chocolate coating59,242.4666,974.86Finished confections36,394.0549,539.03Total280,753.12371,034.21*182  As a result of his change of petitioner's 1946 and 1947 closing inventories from a single-pool to a 10-pool basis, it was respondent's determination that petitioner had additional income for 1946 of $ 47,990.73, being the difference between petitioner's closing inventory of $ 477,910.82 on a single-pool basis and respondent's determination of a closing inventory of $ 525,901.55 on a 10-pool basis.Following the same procedure, the respondent determined that petitioner had additional income of $ 42,290.36 for 1947, by reason of the adjustments of the 1946 and 1947 closing inventories from a single-pool basis to a 10-pool basis.*448  OPINION.Except for the variations permitted and authorized under section 22(d) of the Internal Revenue Code of 1939, the use of inventories in the determination of income with respect to all years here pertinent is governed and controlled by the provisions of section 22(c) of the 1939 Code 5 and the regulations thereunder, which statutory provisions and regulations have existed and continued without substantial change since the Revenue Act of 1918 and Regulations 45, promulgated pursuant thereto.*183  In section 22(c), it is provided that inventories are to be used whenever in the opinion of the Commissioner their use is necessary "in order clearly to determine the income of any taxpayer," and are to be taken "upon such basis as the Commissioner, with the approval of the Secretary, may prescribe as conforming as nearly as may be to the best accounting practice in the trade or business and as most clearly reflecting the income." By section 29.22(c)-1 of Regulations 111, promulgated under section 22(c), it is declared that "[in] order to reflect the net income correctly," inventories at the beginning and end of each taxable year are necessary "in every case in which the production, purchase, or sale of merchandise is an income-producing factor." And further, that the inventory should include all finished or partly finished goods and the raw materials and supplies which have been acquired for sale or which will physically become a part of the merchandise produced and intended for sale.Noting the statutory requirements that inventories must conform as nearly as may be to the best accounting practice in the particular trade or business and must clearly reflect income, and that for*184  that reason, "inventory rules" cannot be uniform, it is provided in section 29.22(c)-2 of the regulations that in order clearly to reflect income, the inventory practice of the taxpayer should be consistent from year to year, and that greater weight is to be given to consistency than to any particular method of taking inventory or basis of valuation "so long as the method or basis used is substantially in accord with these regulations." Stating that the bases of valuation most commonly used by business concerns, and which meet the requirements of the statute, are (a) cost and (b) cost or market, whichever is lower, and "except as to those goods inventoried under the elective method authorized by section 22(d)," discussed hereafter, section 29.22(c)-2, as did prior corresponding regulations, also provides that "[in] respect of normal goods, whichever basis is adopted must be applied with reasonable consistency to the entire inventory" and that "[goods] *449  taken in the inventory which have been so intermingled that they cannot be identified with specific invoices will be deemed to be the goods most recently purchased or produced, and the cost thereof will be the actual cost*185  ofthe goods purchased or produced during the period in which the quantity of goods in the inventory has been acquired."Under section 29.22(c)-3 of the said regulations, cost means (1) in the case of merchandise on hand at the beginning of the year, the inventory price of such goods, (2) in the case of merchandise purchased since the beginning of the year, the invoice price, subject to indicated adjustments, and (3) in the case of merchandise produced by the taxpayer since the beginning of the year, "(a) the cost of raw materials and supplies entering into or consumed in connection with the product, (b) expenditures for direct labor, (c) indirect expenses incident to and necessary for the production of the particular article, including in such indirect expenses a reasonable proportion of management expenses, but not including any cost of selling or return of capital, whether by way of interest or profit." It is further provided that in "any industry in which the usual rules for computation of cost of production are inapplicable, costs may be approximated upon such basis as may be reasonable and in conformity with established trade practice in the particular industry."One such case*186  specifically dealt with in the regulations is that of the retail merchant who regularly uses what is known as the "retail method" of ascertaining or arriving at the cost of his merchandise for inventory purposes.  Under section 29.22(c)-8 of the regulations, a retail merchant is permitted to inventory his merchandise by the retail method, provided "(1) that the use of such method is designated upon the return, (2) that accurate accounts are kept, and (3) that such method is consistently adhered to unless a change is authorized by the Commissioner." Although under the retail method the merchandise is priced at cost, cost is not determined or arrived at according to the specific items or quantities of the goods making up the merchandise in the inventory. The first step is to list by items and quantities the merchandise by departments or classes of the goods being inventoried at the retail prices at which the merchandise is carried for sale.  After this is done, the inventory is at all times expressed and dealt with in terms of dollars, and the inventory cost is ascertained or arrived at by applying to the dollar amount representing the total of the said retail prices the factor or percentagewhich*187  will eliminate therefrom "as accurately as may be" that amount or portion of the dollar amount of such total of the retail prices which in fixing the retail prices had been added or included "to cover selling and other expenses of doing business and for the margin of profit." The factor or percentage so applied to eliminate the margin of profit *450  and expenses of doing business from the total of the said retail prices and to arrive at inventory cost must be determined with reference to the department or the class of goods which is being inventoried, the regulation providing that under the retail method, a taxpayer maintaining more than one department in his store or who deals in classes of goods carrying different percentages of profit should not use a percentage of profit based upon an average of his entire business, but should compute and use the proper percentage for the respective departments or classes of goods.Such inventorying of goods as dollars rather than in terms of the physical items making up the inventory is sometimes referred to as the dollar-value method of pricing inventories.To the extent specified therein and subject to stated conditions, a taxpayermay*188  under section 22(d), as amended by the Revenue Act of 1939, 6*190  vary or change his method of taking inventory from that *451  required and established under section 22(c) and the regulations thereunder.  Instead of deeming goods which have been so intermingled that they cannot be identified with specific invoices to be the goods most recently purchased or produced, as required under section 29.22(c)-2 of the regulations, a taxpayer may under section 22(d) treat goods remaining on hand at the close of the taxable year as being "[first], those included in the opening inventory of the taxable year (in the order of acquisition) to the extent thereof, and second, those acquired in the taxable year." The goods must be inventoried at cost, however, and no basis other than cost is permissible.  And whereas under section 22(c) the method of inventory adopted "must be applied with reasonable consistency to the entire inventory," see regulation 29.22(c)-2 above, a taxpayer may under section 22(d) elect to have the method of inventory authorized therein apply to some but not all of the items in its inventory, in which case only goods specified in the application required to be filed maybe*189  inventoried by this so-called last-in, first-out method of inventorying goods.  7By subsection (3) of section 22(d), it is required that the change to and use of the last-in, first-out method of taking inventory must be in accordance with the regulations the Commissioner prescribes as necessary in order that the use of the said method may clearly reflect income.  In subsection (5), it is provided that a taxpayer, once having complied with the*191  requirementsfor the use of the said last-in, first-out method of taking inventory, must use that method in all subsequent taxable years, unless with the approval of the Commissioner a change to a different method should be authorized.In section 29.22(d)-1 of Regulations 111, applicable to the years herein, it is provided that any taxpayer permitted or required to take inventories, pursuant to the provisions of section 22(c) of the statute, may elect with respect to the goods specified in his application and properly subject to inventory, to compute his opening and closing inventory in accordance with the method provided by section 22(d), as amended, and further, that this method is not dependent upon the character of the business in which the taxpayer is engaged or upon the identity or want of identity through commingling of any of the goods on hand.  In section 29.22(d)-3 of the regulations, it is provided that the application for such change must be accompanied by an analysis of all inventories of the taxpayer as of the beginning and *452  as of the end of the taxable year for which the method is proposed first to be used.  A requirement relating specifically to manufacturers*192  is that theanalysis shall "show in detail the manner in which costs are computed with respect to raw materials, goods in process, and finished goods, segregating the products (whether in process or finished goods) into natural groups on the basis of either (1) similarity in factory processes through which they pass, or (2) similarity of raw materials used, or (3) similarity in style, shape, or use of finished products.  Each group of products shall be clearly described." It is further provided that "[whether] or not the taxpayer's application for the adoption and use of the elective inventory method should be approved, and whether or not such method, once adopted, may be continued, and the propriety of all computations incidental to the use of such method will be determined by the Commissioner in connection with the examination of the taxpayer's returns." 8*193 In neither the statute nor the regulations have we been able to find anything which suggests that for the purposes of section 22(d) there was any intent to authorize or require any changes in accepted and established methods of inventorying goods other than those required and necessary to make the provisions of section 22(d) effective, thus leaving section 22(c) and the regulations thereunder as controlling in all other respects.  The changes required and authorized would be those reasonably necessary and essential to the treating of the goods remaining on hand at the close of the taxable year as being the goods on hand at the beginning of the year to the extent thereof, and such adjustments or changes as might be necessary in ascertaining or arriving at cost of goods to be so treated as having been on hand at the beginning of the year and of any remainder of goods which were to be treated as having been acquired during the taxable year. See Hutzler Brothers Co., 8 T.C. 14"&gt;8 T. C. 14, and Edgar A. Basse, 10 T.C. 328"&gt;10 T. C. 328.In Hutzler Brothers Co., decided January 14, 1947, the taxpayer was the operator of a large retail departmentstore and by proper application*194  filed with its return for the fiscal year ended January 31, 1942, it had elected under section 22(d) of the 1939 Code to price its inventory on the last-in, first-out basis.  It had regularly taken its inventory and determined the cost of its merchandise by departments by the retail method as authorized and permitted by the respondent, regulation section 29.22(c)-8, supra, and in adopting the elective method under section 22(d), it continued the use of the retail method in arriving at and expressing the cost of its inventory on the last-in, first-out basis.  In so doing, it took a physical inventory of its merchandise for each department at the close of the year at the retail *453  prices at which the merchandise was carried for sale, as it had done theretofore.  As the next step, and for the purpose of treating the goods on hand in the closing inventory of the department as the goods on hand in its opening inventory to the extent thereof, it applied to the total dollar amount of the closing inventory at retail prices a factor representing the percentage of the average rise in retail prices during the year to arrive at the total dollar amountof its closing inventory at beginning*195  of the year retail prices.  When the dollar amount of the closing inventory of the department at opening inventory retail prices had been so determined, such dollar value of the closing inventory was treated as having been in the opening inventory to the extent of the amount of the opening inventory, also expressed at retail prices, without any matching of particular articles of goods on hand at the close of the year with similar articles on hand at the beginning of the year.  Having so determined the amount of the closing inventory which was to be treated as having been in the opening inventory, it ascertained or arrived at the beginning of the year cost thereof by the retail method, namely, by applying the factor which would eliminate the amount or portion of the total of the retail prices for the department which in fixing retail prices had been added or included to provide the margin of profit and to cover selling cost and other expenses of doing business.  Any excess of the closing inventory over the amount to be treated as having been in opening inventory was readjusted by applying the department index figure for the increase in prices duringthe year to the retail prices current*196  at the end of the year and then similarly reduced by the proper factor to determine the end of the year cost.  It was the position of the Commissioner that in determining the goods in the closing inventory which were to be treated as goods on hand in the opening inventory, for section 22(d) purposes, the inventories had to be expressed in specific items and quantities of goods and the items and quantities matched as between closing and opening inventories, and that the retail method of reducing the opening and closing inventories to dollars as the common denominator and the subsequent matching of dollars without regard to the matching of particular articles of goods was not permissible under the statute.  The retail method being a recognized and established method of taking inventory for retail merchants under section 22(c), see section 29.22(c)-8, and Hutzler Brothers having regularly taken its inventory by that method, it was held that it had properly continued its use of the said retail method in inventorying its goods on a last-in, first-out basis under section 22(d).In *197 Edgar A. Basse, supra, decided February19, 1948, the taxpayer was engaged in the operation of a chain of retail food stores and his established method of inventorying the merchandise in his stores *454  was, and had been, by the retail method, and this Court, following Hutzler Brothers Co., supra, likewise upheld the continued use of the retail method of taking the store inventories for the purposes of section 22(d).  The Commissioner had also determined that Basse had not satisfied the requirements of section 22(d) in inventorying the merchandise in his warehouse, in that similarly he had failed to match particular articles of goods on hand at the close of the year with those in his opening inventory. The warehouse merchandise was made up of approximately 2,000 items and was grouped into 27 classifications. These classifications were set up on a departmental basis according to customers' demands and corresponded with those in general use in the chainstore retail grocery business, and though the number of items in a classification might vary considerably from the number in another classification, the items in any given classification were closely*198  related in type and character.  An actualphysical inventory of the goods in each classification was separately taken and priced at both end of the year and beginning of the year costs.  After this was done, the aggregate dollar amount of the closing inventory at opening inventory cost for the particular classification was then matched with the dollar amount of the opening inventory for that classification and the dollar amount of the closing inventory up to the amount of the opening inventory was treated as having been on hand in the opening inventory. Where, on such matching of the dollar amounts of the opening and closing inventories for any classification there was an excess of closing inventory over opening inventory, the year-end cost of such excess was determined by the application to such excess of the percentage of increase of cost factor for the particular classification during the year.  Taking into account the holding in Hutzler Brothers Co., supra, the method followed by the taxpayer in determining the goods in the closing inventory which were to be treated as goods included in the opening inventory and the amount to be treated as the increase during the*199  year and the cost of suchincrease was approved.In the instant case, petitioner's application for the adoption of the elective method of taking inventory, as provided by section 22(d), was filed with its 1942 return, and its first use of that method was in that return.  The goods in the 1942 opening inventory thus became the goods which were to be treated as goods in the closing inventory for each succeeding year so long as and to the extent that they continued to be matched by properly comparable goods in each succeeding closing inventory. In taking its closing inventories for each of the years 1946 and 1947, the years herein, and for the purpose of applying section 22(d), petitioner did not match or compare the goods in the said closing inventories with the goods in the 1942 opening inventory according to the physical characteristics or composition *455  or number of units.  It did actually count and list the goods on hand separately according to the categories or classifications by or under which such goods were acquired, accounted for, and used in its operations.  In other words, the cocoa beans on hand were separately counted and listed as cocoa beans, and the same course*200  was followed with respectto the other major categories in the inventories, such as milk, sugar, goods in process, and finished goods. The remaining items which were acquired, held, and used in comparatively small quantities were grouped and listed together under "Others." When this counting and listing had been completed, the 1942 opening inventory cost prices for such goods were applied and the cost of the said 1946 and 1947 closing inventories at 1942 opening inventory cost prices was determined.  After this was done, the various items, their nature and number of quantity, and the various categories or classifications of goods making up the inventories were ignored, and in determining the goods in the said closing inventories which were to be treated as those included in the opening inventories, for the purpose of section 22(d), the entire inventories were treated as a single pool, classification, or category of goods consisting wholly and exclusively of dollars in one lump sum.  It is argued that this method of applying section 22(d) to petitioner's 1946 and 1947 inventories is authorized and permitted under the statute and the regulations and is supported by the Hutzler Brothers*201  Co. and Bassecases, and that the respondent's determination is in conflict therewith.We are unable to see that the Hutzler Brothers Co. and Basse cases advance petitioner's case.  Acquiescing in the decision in Hutzler Brothers Co., respondent, by T.D. 5605, approved March 4, 1948, amended section 29.22(d)-1 of the regulations, by adding a paragraph "to adapt the retail inventory requirements of the regulations to the elective inventory principle of section 22(d) of the Internal Revenue Code as enunciated" by this Court in that case.  In the meantime, the opinion in the Basse case had been reported, and by T.D. 5756, approved November 2, 1949, a further paragraph was added to section 29.22(d)-1 of the regulations to provide that "[if] a taxpayer uses consistently the so-called 'dollar-value' method of pricing inventories, or any other method of computation established to the satisfaction of the Commissioner as reasonably adaptable to the purpose and intent of section 22(d), and if such taxpayer elects under section 22(d) to use the elective inventory method authorized by such section," the opening and closing*202  inventories "shallbe determined under section 22(d) by the use of the appropriate adaptation." In each instance the amendment was made applicable to all years beginning after December 31, 1938.  In the instant case, the petitioner makes no claim that prior to 1942 it ever priced its inventories by the dollar-value method, whether by a single pool or multiple *456  pools. And on the facts, it is patent, we think, that it did not.  Even so, however, the respondent in his determination for the years herein has not rejected but has followed the dollar-value method of pricing petitioner's inventories. But in doing so, he did determine that petitioner's treatment of its raw materials, goods in process, and finished goods as one homogeneous pool for inventory purposes, rather than multiple pools according to the separate classifications as reflected by its records and by its operations, does not clearly reflect income, and is not the appropriate adaptation of that method for the purpose of determining petitioner's opening and closing inventories under section 22(d).Neither Hutzler Brothers Co. nor Basse stands for or supports the proposition that on a change from the first-in, *203  first-out methodunder section 22(c) for identifying goods which have been so intermingled that they cannot be identified with specific invoices, to the last-in, first-out method under section 22(d), the natural or established groupings or classifications according to which they have theretofore been inventoried may be ignored so as to treat all such groupings or classifications thereafter as one group or classification of homogeneous or fungible goods.  Hutzler Brothers was a department store and had used consistently the retail method of pricing its inventories, and under that method the inventory of each department was required to be taken and priced separately from all other departments.  And it was specifically provided by the regulations, see section 29.22(c)-8, that the factor or percentage to be applied to arrive at the cost of goods in a department must be determined solely with respect to the department the goods of which were being inventoried, and where there was more than one department, the application of a factor or percentage based upon an average for the entire business was not permissible.  In changing to the last-in, first-out method under section 22(d), Hutzler Brothers*204  neithermade nor sought to make any change in its prior established practice of treating each department as representing a separate and distinct pool, group, or classification of goods, and approval of that practice was inherent in our opinion approving its continued use of the retail method of inventory. In the Basse case, the taxpayer priced his warehouse inventory by the so-called dollar-value method by the use of 27 pools or classifications which were shown by the facts to have been groupings according to customers' demands and as corresponding with the groupings in general use in the chain retail food store business.  He did not seek to do otherwise.  And while it does appear that the goods in the retail stores were not taken according to such classifications, the facts did show that except for the change from first-in, first-out to the last-in, first-out pricing of goods, his method of inventorying the merchandise in the stores was continued without change, and no question as to the *457  propriety of the classification by which the inventory of the retail stores had been taken was raised or decided.Unlike Hutzler Brothers and Basse, who were retail merchants and merely*205  boughtand sold merchandise which had already been processed or manufactured, petitioner was a manufacturer or processor of raw materials and supplies into finished goods, and the regulations plainly show that raw materials, goods in process, and finished goods were and have long been established and accepted categories for inventory purposes.  Under section 22(c), the regulations, section 29.22(c)-7, a manufacturer is permitted, in certain circumstances, to inventory its finished products on an allocated cost basis, provided the allocation is in conformity to a recognized trade practice and in the aggregate will absorb the total cost of production.  But there is no such provision with respect to raw materials, and we have been unable to find any provision which has ever supplied any basis for inventorying raw materials as if they were finished goods, or for ignoring the natural and accepted classifications of the goods in question.  It is to be noted also that beginning with the first regulations under section 22(d), a manufacturer seeking to change from the first-in, first-out method of pricing inventories under section 22(c) to the last-in, first-out method under 22(d) has always*206  beenrequired to submit with his application for change an analysis showing in detail the manner in which costs were computed with respect to raw materials, goods in process, and finished goods, and as to "the products (whether in process or finished goods)," segregating them into natural groups on the basis of similarity of raw materials used, similarity in factory processes through which they pass, or similarity in style, shape, or use of the finished products.  And subsequently, when by T.D. 5407, approved October 9, 1944, the respondent expanded and amplified section 29.22(d)-1 of his regulations to cover in considerable detail the case of the manufacturer or processor who adopts the last-in, first-out method of inventory as to raw materials only, it was provided that raw material in the opening inventory must be compared with similar raw material in the closing inventory, and where there are several types of raw materials, the manufacturer is required to compare each type of raw material in the opening inventory with a similar type in the closing inventory. And when the finished product contains two or more different raw materials "as in the case of cottonand rayon*207  mixtures," each raw material must be treated separately and adjustments made accordingly.  9 At *458  no place in the regulations do we find any indication that for inventory purposes, whether under section 22(c) or section 22(d), and in order to reflect net income correctly, it has ever been permissible for a manufacturer to treat the various raw materials, its goods in process, and its finished goods as one fungible pool or category of goods.  No reason has been advanced, and we can think of none, as to why in a case where the last-in, first-out method of inventory is to be used with respect to raw materials only, a raw material in the opening inventory must be compared with a similar raw material in the closing inventory, while at the same time, in a case where the last-in, first-out method is to be applied to goods in process and finished goods, as well as raw materials, it would be permissible and proper to treat not only all of the various raw materials as being fungible, but permissible to include them together with goods in process and finished goods in one single pool or classification of goods.*208  As supporting its claim of error in the respondent's determination, the petitioner relies on the opinion testimony of certain certified public accountants, to the effect that in petitioner's operation the use of one pool for its inventoriable goods for last-in, first-out inventory purposes represented sound accounting and correctly reflected petitioner's income.  The premise appears to be that since petitioner's finished goods consist entirely of chocolate products, its business, for the purposes of section 22(d), is as if it were a single department of a department store, and, on brief, petitioner likens the respondent's use of separate pools or categories for its various raw materials, the goods in process, and finished goods to a division of the inventory of the shoe department of a department store into separate pools or categories for men's low brown shoes, men's low black shoes, men's high brown shoes, men's high black shoes, women's low-heeled brown shoes, women's low-heeled black shoes, and the like.  The comparison is not to the point.  As authorized by the regulations the retail method of pricing inventories whereunder the inventory is taken by departments and the merchandisein*209  each department, as in a shoe department, is treated as a single pool or classification of goods is and always has been restricted in its use to *459  retail merchants and has not been accepted or approved as conforming "as nearly as may be to the best accounting practice" in a manufacturing business and "as most clearly reflecting the income." We are also of the view that the classification of retail merchandise consisting wholly of various colors, sizes, and types of shoes into one pool or category as shoes is in no way comparable to a classification of separate and distinct raw materials such as cocoa beans, sugar, and milk together and along with goods in process and finished goods as chocolate or candy.  And we fail to find a likening of petitioner's manufacturing operations to that of the retail candy department of a department store any more persuasive.It is safe to say, we think, that as a general rule, a manufacturing or processing operation requires particular and specific raw materials in rather definite quantities or ratios for the processing into given manufactured or finished articles, and the maintenance of an adequate supply or inventory of materials in eachcategory*210  would appear to be a prerequisite to a healthy operation, and certainly the facts show that that is true in the case of this petitioner.  An inventory or method of inventory which disregarded or ignored these requirements, regardless of a comparable or constant amount in dollars, would not be a proper reflection of the operation and as opening and closing inventories would not, in our opinion, most clearly reflect income.In that connection, it is not without significance, we think, that regardless of its election to change to the last-in, first-out method of inventory, petitioner in the course of its operations has regularly taken and maintained as a part of its records a monthly inventory of its goods, with separate categories or classifications for its various raw materials, one for goods in process and another for finished goods, and only in the case of its December 31 inventories does it appear that it has ever thereafter translated any monthly inventory into a one-pool inventory expressed in dollars only.  10*211  Actually, it is for the most part a matter of volition on the part of a taxpayer whether his closing inventory for the purposes of section 22(d) is, or is not, maintained at a level constant with his opening inventory for his base year, through the purchase at or prior to the inventory date of goods sufficient to replace the goods which have been consumed and to bring his inventory back up to the appropriate level, whether the inventory be taken according to separate pools or a single pool. It is, of course, true that certain events or circumstances could and sometimes do arise so as to prevent such replacement of goods which have been consumed in the course of operations.  And Congress, *460  recognizing that fact, has added subsection (6) to section 22(d), to provide that where the failure of a taxpayer to replenish his inventory in the manner indicated is beyond his control because of certain specified conditions, such goods, when later acquired in replacement of the goods consumed, shall be included in the taxpayer's inventory for the year of replacement at the inventory cost basis of the goods replaced.  Whether or not this should be done, and the extent to which it was*212  to be authorized, was obviously regarded by Congress as a matter of legislation and not of accounting principles or legal construction.  The qualifying conditions specified are where the failure or inability to replenish the inventory is due to enemy capture or control of sources of limited foreign supply, to shipping or other transportation shortages, to material shortages resulting from priorities or allocations, to labor shortages, or to prevailing war conditions beyond the control of the taxpayer.  There is no claim on the part of the petitioner, and we find no facts to indicate, that its failure to maintain its various raw materials, goods in process, and finished goods at an appropriate level with its opening inventory of such items for its base year was due to any of the conditions or circumstances specified by Congress.  Furthermore, we find no provision, or suggestion of provision, in either the statute or the regulations to permit, by indirection, the accomplishment of the results sought through the use of a single-pool inventory and the replacement of one type or category of goods at the inventory cost of the goods which have been consumed through the purchase of a differenttype*213  or category of goods which in fact was not depleted, particularly where, insofar as shown, the failure to maintain the various categories of goods at the desired level is the result "of a financial or business disinclination on the part of the taxpayer to do so."According to section 22(d)(3), the change to and use of the last-in, first-out method of inventory must be in accordance with the regulations prescribed by the Commissioner as being necessary in order that the use of such method may clearly reflect income.  Petitioner, by the terms and as a part of its application to make that change, not only agreed to "such adjustments incident to the change to the elective method, or the use of such method," but "to any later change from such method, in the inventories of prior taxable years or otherwise, as the Commissioner * * * upon the examination" of its returns for the years involved might deem necessary in order that the true income of the petitioner would be clearly reflected.  Not only have we been unable to find in the statute or regulations any authorization for the ignoring by a manufacturer of the natural and normal categories or classifications of the raw materials, goods*214  in process, and finished goods in its inventory, but, as indicated, the regulations in all respects appear to contemplate the continued use of the same categories *461  after change to the last-in, first-out inventory method under section 22(d), as before.  We are convinced that as compared with the use of one pool for all of its raw materials, goods in process, and finished goods, the respondent's use of separate pools for the various raw materials, goods in process, and finished goods most clearly reflects income, and that it was within the scope of his duties and powers so to determine.We have carefully considered the testimony of the certified public accountants called by the petitioner to give opinion testimony as to accounting principles.  We have also noted their conclusions that the use of one pool for petitioner's goods for inventory purposes under section 22(d) clearly reflects income.  It might be that a consistent and continued use of one pool would over a long period of years result in a reasonably fair reflection of income, dependent, of course, upon whether or not a taxpayer used the greater latitude for a manipulation of income back and forth between years. *215  Similar reasoning was advanced in support of the use of a constant price for inventory items under section 22(c).  It is, of course, true that through the enactment of section 22(d), Congress did relax the ban on the constant-price method of inventory to some degree, 11 namely, to the extent of permitting a taxpayer to treat the goods on hand at the close of a taxable year as those included in the opening inventory to the extent thereof, which, as we have pointed out, permits a taxpayer the continued use of the cost prices for its opening inventory of its base year up to the extent that a corresponding amount of properly comparable goods or items is maintained in each succeeding closing inventory. But even under the constant-price method substantial regard for the identity of the goods so priced was essential.  As already stated, we are convinced that the use of separate pools or categories for the various raw materials, for goods in process, and for finished goods will most clearly reflect petitioner's income from year to year, as the respondent has determined, and we have found nothing in the statute or the regulations which either convinces or persuades us that Congress had any*216  intention under section 22(d) of extending the scope of the constant-price method of inventory nearly as far as the lump-sum effect of a single pool or category in cases such as this would do.There is no showing of record that the petitioner, with its application to change its method of inventory from that of first-in, first-out under section 22(c) to last-in, first-out under section 22(d), filed the required analysis of its 1942 opening and closing inventories or, as a manufacturer, disclosed in detail the manner in which costs were computed with respect to raw materials, goods in process, and finished goods, as were specifically required by the regulations to be included *462  therein.  And it is not possible, from the application or the 1942 return as filed, to say that the 1942 closing inventory was or was not priced by the dollar-value method and, if so, by one pool or multiple pools. It is the claim of the petitioner, however, that beginning*217  with 1942, the year of its election, and for all years thereafter, it has taken its inventory by the dollar-value method and on a single-pool basis, as in the taxable years 1946 and 1947; that the respondent through his agent examined and approved the returns as filed for the years 1942, 1943, 1944, and 1945; that consistency is to be given greater weight than any particular method of taking inventories or a basis of valuation; and the respondent, having approved the method used for the years stated, may not now reverse such approval.  In support thereof, it cites and relies on Maloney v. Hammond, 176 F.2d 780"&gt;176 F. 2d 780, Geometric Stamping Co., 26 T.C. 301"&gt;26 T.C. 301, and certain unreported decisions of this Court.As a factual basis for this contention, the petitioner refers to and relies on the testimony of the representative of the accounting firm which makes the annual audit of its books and prepares its returns, to the effect that beginning with 1942, petitioner, in applying section 22(d), has used a single-pool method for determining goods in its closing inventory which are to be treated as having been included in its opening inventory, and to the further fact*218  that such method of taking inventory was called to the attention of the revenue agent and as to the inventories, the returns were approved as filed.  In one respect, the testimony of the witness is corroborated of record, and that is, that as to the years 1942, 1943, and 1944, the respondent in his determination made no changes with respect to inventory as reported by petitioner on its returns.  Beyond that point, however, the facts appear to refute, rather than corroborate, the testimony of the witness.Petitioner's closing inventory for 1942, the first year in which the elective or last-in, first-out method of inventory under section 22(d) was used, as shown by its 1942 return and used in arriving at the cost of goods sold, was $ 690,961.46, whereas the 1942 opening inventory was $ 736,117.88.  As we understand the single-pool method of applying and using the last-in, first-out method of taking inventory, as contended for by petitioner, petitioner's closing inventory for any later year at 1942 opening inventory prices could never be below $ 690,691.46, so long as in every succeeding year there was in fact an increase in its closing inventorywhen priced at 1942 opening inventory*219  prices.  According to petitioner's 1946 return and other evidence of record, and according to petitioner's factual representations on brief, the amount of petitioner's 1946 opening inventory, or otherwise stated, its 1945 closing inventory, which was to be *463  treated as the inventory to be priced at 1942 opening inventory prices, was only $ 633,368.20, and that was true even though for each of the years 1943, 1944, and 1945 petitioner had had increases in its inventory over and above the goods which were to be treated as having been on hand in the opening inventory. We know of no way in which under the single-pool method contended for the amount of petitioner's 1945 closing inventory at 1942 opening inventory prices could drop from $ 690,691.46 to $ 633,368.20, if in each and every intervening year petitioner had in its closing inventory goods which when priced at 1942 prices exceeded the opening inventory for the year.  Accordingly, no proper basis appears for the claim that the respondent has approved prior year inventories which were taken on a one-pool basis.  *220 Maloney v. Hammond, supra, and Geometric Stamping Co., supra,are not in point and, on this record, at least, do not stand in the way of respondent's determination for the years herein.It also follows that the petitioner's position that respondent has been inconsistent in his determinations that the 1946 closing inventory must be priced according to multiple pools, while allowing the opening inventory priced by a single pool to stand, is not well taken, since it is not possible, on the record here, to conclude that petitioner's closing inventories for any of its prior years were priced on a single-pool basis.There is, we think, some merit in petitioner's contention that cocoa butter represented a part of goods in process, rather than a separate category or pool. It is true, as respondent points out, that petitioner did make some sales and some purchases of cocoa butter, as such.  But the record further shows that these purchases and sales were comparatively insignificant and that cocoa butter was produced primarily and almost wholly in the course of processing the cocoa beans along with the other products into finished chocolate goods.  Cocoa*221  butter was predominantly a part of the goods in process, and in our opinion should be so classified. The petitioner makes a comparable argument against the division of cocoa beans as between basic beans and flavor beans, and of the finished goods into chocolate coating, cocoa, and confections.  It could be that it would be adequate to classify or pool basic beans and flavor beans as one pool or category, and chocolate coating, cocoa, and confections into one pool as finished goods. The respondent has determined otherwise, however, and on the proof of record, which must supply the basis for a contrary conclusion, we are not persuaded that his determination in that respect is erroneous.Decision will be entered under Rule 50.  Footnotes1. The elective inventory method above is commonly referred to as the last-in, first-out, or Lifo, method of taking inventory.↩2. In the applicable regulations, it was provided that "in the case of a manufacturer, this analysis shall show in detail the manner in which costs are computed with respect to raw materials, goods in process, and finished goods, segregating the products (whether in process or finished goods) into natural groups on the basis of either (1) similarity in factory processes through which they pass, or (2) similarity of raw materials used, or (3) similarity in style, shape, or use of finished products.  Each group of products shall be clearly described."There is no showing of record that petitioner, with its application, filed the analysis of its 1942 opening and closing inventories, as prescribed by application Form 970 and the pertinent regulations.↩3. It was the testimony of a certified public accountant, a partner of an accounting firm which did petitioner's accounting work, that, beginning with 1942, petitioner had at all times carried its inventory by the last-in, first-out method and on a dollar and single-pool basis.  It is on such a factual premise that petitioner has based its contentions herein.↩4. It was the testimony of the aforesaid certified public accountant that among matters discussed with the revenue agent was petitioner's application for permission to use the last-in, first-out inventory method and that the revenue agent advised him, the said accountant, that petitioner's application and its change to the last-in, first-out method of inventory was a matter to be discussed with and considered by superiors.↩5. SEC. 22.  GROSS INCOME.(c) Inventories. -- Whenever in the opinion of the Commissioner the use of inventories is necessary in order clearly to determine the income of any taxpayer, inventories shall be taken by such taxpayer upon such basis as the Commissioner, with the approval of the Secretary, may prescribe as conforming as nearly as may be to the best accounting practice in the trade or business and as most clearly reflecting the income.↩6. SEC. 22.  GROSS INCOME.(d) (1) A taxpayer may use the following method (whether or not such method has been prescribed under subsection (c)) in inventorying goods specified in the application required under paragraph (2): (A) Inventory them at cost;(B) Treat those remaining on hand at the close of the taxable year as being: First, those included in the opening inventory of the taxable year (in the order of acquisition) to the extent thereof, and second, those acquired in the taxable year; and(C) Treat those included in the opening inventory of the taxable year in which such method is first used as having been acquired at the same time and determine their cost by the average cost method.(2) The method described in paragraph (1) may be used -- (A) Only in inventorying goods (required under subsection (c) to be inventoried) specified in an application to use such method filed at such time and in such manner as the Commissioner may prescribe; and(B) Only if the taxpayer establishes to the satisfaction of the Commissioner that the taxpayer has used no procedure other than that specified in subparagraphs (B) and (C) of paragraph (1) in inventorying such goods to ascertain the income, profit, or loss of the first taxable year for which the method described in paragraph (1) is to be used, for the purpose of a report or statement covering such taxable year (i) to shareholders, partners, or other proprietors, or to beneficiaries, or (ii) for credit purposes.(3) The change to, and the use of, such method shall be in accordance with such regulations as the Commissioner, with the approval of the Secretary, may prescribe as necessary in order that the use of such method may clearly reflect income.(4) In determining income for the taxable year preceding the taxable year for which such method is first used, the closing inventory of such preceding year of the goods specified in such application shall be at cost.(5) If a taxpayer, having complied with paragraph (2), uses the method described in paragraph (1) for any taxable year, then such method shall be used in all subsequent taxable years unless -- (A) With the approval of the Commissioner a change to a different method is authorized; or(B) The Commissioner determines that the taxpayer has used for any such subsequent taxable year some procedure other than that specified in subparagraph (B) of paragraph (1) in inventorying the goods specified in the application to ascertain the income, profit, or loss of such subsequent taxable year for the purpose of a report or statement covering such taxable year (i) to shareholders, partners, or other proprietors, or beneficiaries, or (ii) for credit purposes; and requires a change to a method different from that described in paragraph (1) beginning with such subsequent taxable year or any taxable year thereafter.↩In either of the above cases, the change to, and the use of, the different method shall be in accordance with such regulations as the Commissioner, with the approval of the Secretary, may prescribe as necessary in order that the use of such method may clearly reflect income.7. Section 22(d)↩ was first enacted in the Revenue Act of 1938, and as first enacted, the election therein was available only to the producers and processors of nonferrous metals and to tanners.  Under its provisions, a taxpayer whose principal business was the production or processing of the said nonferrous metals became entitled to elect to take his inventory of raw materials not yet included in goods in process or finished goods, and which were so intermingled that they could not be identified with specific invoices, on a last-in, first-out basis.  In the case of tanners, the election to use the last-in, first-out method of inventorying goods could also be extended to raw materials included in goods in process and in finished goods.8. Regulations 111 were not in fact promulgated until October 6, 1943, after petitioner's application to inventory its goods under section 22 (d) had been filed, but the above sections 29.22(d)-1 and 29.22(d)-3↩ were in all of the above respects similar to sections 19.22(d)-1 and 19.22(d)-3 of the prior Regulations 103, approved January 29, 1940.9. Regulations 111.Sec. 29.22(d)-1.  Inventories Under Elective Method.  -- * * ** * * *Example (2).  * * ** * * *When used herein raw material in the opening inventory must be compared with similar raw material in the closing inventory. There may be several types of raw materials, depending upon the character, quality or price, and each type of raw material in the opening inventory must be compared with a similar type in the closing inventory.In the cotton textile industry there may be different raw materials depending upon marked differences in length of staple, in color or grade of the cotton.  But where different staple lengths or grades of cotton are being used at different times in the same mill to produce the same class of goods, such differences would not necessarily require the classification into different raw materials.As to the pork packing industry a live hog is considered as being composed of various raw materials, different cuts of a hog varying markedly in price and use.  Generally a hog is processed into approximately 10 primal cuts and several miscellaneous articles.  However, due to similarity in price and use, these may be grouped into fewer classifications, each group being classed as one raw material.When the finished product contains two or more different raw materials as in the case of cotton and rayon mixtures, each raw material is treated separately and adjustments made accordingly.↩10. We do not of course mean to imply that since the amendment of section 22(d)(1)(B) and section 22(d)(5)(B)↩ of the Revenue Act of 1939 by section 118 of the Revenue Act of 1942, that the use of a method of inventory other than the last-in, first-out for periods of less than the entire taxable year is of itself a proper basis for denying the right to use that method.11. See Hutzler Brothers Co., 8 T.C. 14"&gt;8 T.C. 14, 29↩.